     Case: 1:18-cv-01536 Document #: 18 Filed: 04/26/18 Page 1 of 1 PageID #:86



                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



REBECCA CASTILLO,

                      Plaintiff,                    Case No. 1:18-cv-01536
       v.
                                                    Honorable John Z. Lee
HICKORY FARMS, LLC,

                      Defendant.


                                      NOTICE OF MOTION

        PLEASE TAKE NOTICE THAT on Tuesday, May 8, 2018, at 9:00 a.m., or as soon
thereafter as counsel may be heard, we shall appear before the Honorable John Z. Lee, or any
judge sitting in his stead in Courtroom 1225 of the United States District Court for the Northern
District of Illinois and present DEFENDANT HICKORY FARMS, LLC’S COMBINED
MOTION TO DISMISS PURSUANT TO RULE 12(B)(1) AND MEMORANDUM OF
LAW IN SUPPORT and DEFENDANT HICKORY FARMS, LLC’S MOTION TO
DEFER THE TIME TO FILE AN ANSWER FOR GOOD CAUSE PURSUANT TO THE
STANDING ORDER REGARDING THE MANDATORY INITIAL DISCOVERY PILOT
PROJECT, copies of which are served upon you.

Dated: April 26, 2018                         Respectfully submitted,

                                              CITY OF CHICAGO

                                        By: s/ Rachel L. Schaller
                                            One of its Attorneys



Heather A. Jackson (ARDC No. 6243164)
Rachel L. Schaller (ARDC No. 6306921)
TAFT STETTINIUS AND HOLLISTER LLP
111 East Wacker Drive, Suite 2800
Chicago, Illinois 60601
Telephone:     (312) 527-4000
Email:         hjackson@taftlaw.com
              rschaller@taftlaw.com
                                                                                     21880872.1
